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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF ARKANSAS
                                               CENTRAL DIVISION


               IN RE:          JAMES W. FINCH,                                         CASE NO: 4:21-bk-12472 J
                                   Debtor                                                            Chapter 13


                                                            ORDER

                        Before the Court is the Motion to Dismiss (“Motion”) filed by Joyce Bradley Babin, Chapter

               13 Standing Trustee, on September 12, 2022, Docket Entry 102. The Motion was set for hearing

               on September 29, 2022. However, prior to the hearing, the Motion was resolved. Therefore, upon

               consideration, for good cause shown and by agreement of the parties, the Court finds that the

               Trustee’s Motion to Dismiss is WITHDRAWN upon the conditions that, within twenty-eight (28)

               days of entry of this Order, (1) the Debtor provides a copy of his 2018, 2019, 2020 and 2021 tax

               returns or transcripts thereof to the Trustee and (2) the Debtor files amended schedules I and J. If

               the Debtor fails to comply with the conditions stated in this Order, the case will be dismissed

               without further notice or hearing upon submission of an Order.

                        IT IS SO ORDERED.


                                                             ___________________________
                                                                      Phyllis M. Jones
                                                             The Honorable     Phyllis
                                                                      United States      M. Jones
                                                                                    Bankruptcy Judge
                                                                      Dated:
                                                             United States Bankruptcy Judge
                                                                              10/13/2022


                                                             Date:_______________________

               Approved by:

               /s/ Matthew D. Mentgen
               Matthew D. Mentgen, Esq.

               cc:      James W. Finch, Debtor
                        Matthew D. Mentgen, Attorney for Debtor
                        Joyce Bradley Babin, Trustee




EOD: October 13, 2022
